Case: 1:18-cv-02027 D oooooo t #: 95 Filed: 07/18/18 Page 1 of 24 Page|D #:2460

EXHIBIT A

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Case: 1:18-cv-02027 Document #: 95 Filed: 07/18/18 Page 2 of 24 Page|D #:2461

EXHIBIT B

Case: 1:18-cv-O2027 Document #: 95 Filed: 07/18/18 Page 3 of 24 Page|D #:2462

 

CHR|ST|NE DANCEL September 08, 2017
Page 1
l STATE OF ILLINOIS )
) SS.
2 COUNTY OF COOK )
3 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, CHANCERY DIVISION
4
CHRISTINE DANCEL, )
5 individually and on )
behalf of all others )
6 similarly situated, )
) No. 16 CH 01716
7 Plaintiff, )
)
8 vs. )
_ )
9 GROUPON, INC., a )
Delaware Corporation, )
10 )
Defendant. )
ll
12 The deposition of CHRISTINE DANCEL, taken
13 before Angela C. Loisi, Certified Shorthand
14 Reporter, Registered Professional Reporter,
15 Federal Certified Realtime Reporter, taken
16 pursuant to the provisions of the Illinois
17 Code of Civil Procedure and the Rules of the
18 Supreme Court thereof pertaining to the
19 taking of depositions for the purpose of
20 discovery at 100 North Riverside Plaza,
21 Suite 1500, Chicago, Illinois, commencing at
22 9:30 a.m. on_September 8, 2017.
23
24 Reporter: Angela C. Loisi, CSR, RPR, FCRR

 

License No.: 084-004571

 

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(312)-236-8352

 

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CHR|ST|NE DANCEL

September 08, 2017

 

 

 

PageZ Page4
1 APPEARANCES= 1 (Witness sworn.)
2 EDELSON, Pc 2 WHEREUPON:
3 BY= MR. BENJAMIN THOMASSEN 3 CHRISTIN-E DANCEL,
4 350 North LaSalle Street, Suite 1300 4 called as a Witness herein’ having been
5 Chi¢a§°' Illinois 60654 5 first duly sworn, was examined and testified
6 (312) 589-esso 6 as follows:
7 Bthomassen@edelson . com 7 EXAMINATION
8 Representing the Plaintiff,- 8 BY MR_ MACEY:
9 9 Q. Could you tell the court reporter your
10 NovAcK & MACEY 10 fu11 name-9
11 BY= MR¢ ERIC N- MACEY 11 A. Christine Mariah Dancel.
12 MR. BRIAN E. coHEN 12 Q_ okay_ MS_ Dan¢el, my name is
13 100 North Riverside Plaza, Suite 1500 13 Eric Mace,y_
14 Chicago, Illinois 60606-1501 14 A_ Nice to you.
15 (312) 419-6990 15 Q. Okay. And I represent Groupon.
1 6 Emacey@novackmac ey. com 16 A_ Okay _
17 13C‘>hen@r“>"~'=\Ck“\a€@Y-C°m 17 Q. This is my colleague, Brian Cohen, who
13 Repre§enting GI`OUPOH. 18 works with me on the case_
19 19 This is Kevin McCormick, and
20 ALSO PRESENT= 20 Mr. McCormick is a senior litigation counsel
21 MR. KEVIN MccoRMIcK, 21 at Gr°upcn __
22 Groupon Litigation Counsel 22 A_ Okay_
23 23 Q. -- and is here representing the
24 24 client. Okay?

page3' PageS
1 I N D E X 1 A. okay.
2 2 ~ Q. All right. You've never done this
3 wITNEss; cHRIsTINE DANCEL PAGE 3 before, have you»_>
4 Examination by Mr. Macey 4 4 _A_ Correct.
5 5 Q. 0kay. I'm going to try to make it as
6 6 easy as possible. I ask questions, you
7 E X H I E I T S 7 answer_
8 8 Your attorney may object from time to
9 CHRISTINE DANCEL PAGE 9 time, and unless he tells you not to answer
10 10 you should still answer the question anyway.
11 (No ExHIBITS MARKED) 11 okay-y
12 12 A. okay.
13 13 Q. _All right. One of the things I can
14 14 see we're going to have an issue with now is,
15 15 as humans we tend to answer questions through
16 16_ physical gesture, like by nodding our head,
17 17 and not orally taking down the -- making the
15 18 answer.
19 19 But unfortunately, the court reporter,
20 20 who is really the boss of this whole process
21 21 here, cannot put down a nod. She will
22 22 literally have to articulate your response.
23 23 okay?
24 24 A. Sounds good.

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CHR|ST|NE DANCEL

September 08, 2017

 

 

 

PagéTB P39920
1 Q. What document did you review? 1 A. Yeah.
2 A. The document regarding the deposition. 2 Q. Okay. So why don't you spell it for
3 Q. I don't understand what that is. Do 3 the court reporter.
4 you have any more specificity? 4 A. S-I-E-R-Z-P-U-T-O-W-S-K-I.
5 Did you look at one document or 5 Q. So to make life easier for all of us,
6 several? 6 in particular the court reporter, I'm going to
7 A. What was provided to me. 7 call him "Jaku.`o" or "your boyfriend."
8 Q. By counsel? 8 Will you know who I'm talking about?
9 A. Yeah. 9 A. Yes.
10 Q. Do you recall what they were? 10 Q. What was the name of your boyfriend'l
11 A. They were documents laying out who the 11 friend at Mr. Thomassen's firm?
12 parties were, what my role was, and who I was 12 A. Albert.
13 talking to. 13 Q. Albert what?
14 Q. Do you -- did any of them have a name 14 A., He also has a complicated Polish last
15 to it, like a complaint or a motion? 15 name,
16 Do you recall anything like that? 16 Q. Right. Do you know what it is?
17 A. One of them was named a "Complaint." 17 A. Not off the top of my head.
18 Q. Okay. _ 18 Q. I-Iow -- but not spelling it, but do you
19 A. And the other ones were labeled 19 know what it is otherwise?
2 0 "deposition . " 20 A. No .
21 Q. They were labeled "deposition"? 21 Q. Okay. So you recognize -- I'm sorry.
22 A. Mm-hmm. 22 So Albert, you spoke with an Albert?
23 Q. Okay. We'll go over that. 23 A. I spoke with my boyfriend first.
24 A Okay. 24 Q. Yes, we'll get into that.
Page 19 ' PaQe 21
l Q. Had you met Mr. Thomassen before? 1 But after you,-spoke with your
2 A. Not before today. 2 boyfriend, as a result of that you spoke with
3 Q. Okay. Had you met someone from 3 Albert; correct? § `
4 _M`r. Thomassen's firm before today? 4 A. Yes.
5 A. No. 5 Q. Did you call Albert or did Albert call
6 Q. Never? 6 you?
7 A. No. 7 A. Albert reached out to me.
8 Q. Had you spoken with someone in 8 Q. He reached out to you, okay.
9 Mr. Thomassen's firm before today? 9 How did he know to call you?
10 A. Yes. ‘ 10 A. He reached out to my boyfriend first.
11 Q. Okay. Why don't we go to the first 11 Q. And then your boyfriend came to you?
12 time you spoke with that person. 12 A. Yes.
13 Who was that, do you know? 13 Q. Did your boyfriend ask you if it was
14 A. It was a friend of my boyfriend. 14 okay if you spoke with Albert?
15 Q. Okay. Is that -- is your boyfriend 15 A. Yes.
16 still your boyfriend? 16 Q. And what did you say?
17 A. Yes. 17 A. 'I said, Sure.
18 Q. Okay. What's his name, just so I 18 Q. Okay. And then Albert called you;
19 know? 19 right?
20 A. Jakub. 20 A. He reached -- he messaged me.
21 Q. With a "K," a "C"? 21 Q. Texted you?
22 A. J-A- -- J-A`-K-U-B. 22 A. Yeah.
23 Q. And I believe his last name is not 23 Q. Before he called you?
24 easily pronounced. 24 A. Yeah.
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September 08, 2017

 

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a o) va s1 c) m o) `1 c\ ul o u) w wl c

 

Page 22
Q. What was the text?

MR. THOMASSEN: Just to clarify,
you're welcome to talk about what -- I guess
whether it was a text, but you can't talk
about what the content of the message is.

MR. MACEY:
so I got to explore that. l

MR. THOMASSEN:
explore the circumstances aroun --

MR. MACEY:

MR. THOMASSE'N:
Ms. Dancel,

It might not be privileged

You can certainly

Sure .

-- Albert contacting
but I'm instructing the witness l
not to talk about the content of those
conversations . l
MR. MACEY: Well, if she

doesn't -- I'm just going to tell you, if she
wasn't seeking legal advice in the
communication, or if he wasn't giving it, it'S
not a privileged communication, and it sure
wasn't work product because he hadn't even
hired you yet (sic) .
BY MR. MACEY:

Q. Had you hired the Edelson law firm at
the time of this text?

Page 23 i

A. No.

Q. Okay. Had you signed a retention
agreement at the time of this text?

A. NO.

Q. No. Had you decided to pursue a
lawsuit at the time of this text?

A. No.

Q. Okay. So he texts you, Is it to set
up a meeting?

A. No.

Q. Okay. What's the text for?

MR. THOMASSEN:
instructing the witness not to answer to the

So again, I'm just

extent you're going to get into the content of
the communication --

MR. MACEY: I'm sorry.

MR. THOMASSEN:
absolutely privileged.

MR. MACEY:
BY MR. MACEY:

Q. Are you going to -- will you tell me

what he said in the text?

MR. THOMASSEN:
don't answer that.

-- because they're

Fine .

Same instruction,

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.a>wm»-lomoo~lo\w.¢>ww»-o

Page 24
BY MR. MACEY:
Q. Okay. Is Albert a lawyer?
A. No.
MR. MACEY: Okay. Well, I don't know

what the privilege is, then. So you're going
to waste a lot of money when we go to court on
this, but I don't care.
MR. THOMASSEN:
BY MR. MACEY: .
Q. You won't tell me what the text was,
what was in there?
A. No.
Q. Okay. As a result -- how long was the
text?
A. Not long.
Q. Do you still have it?
A. Yes.
Q. How come? Was it printed out and
produced to us?
A. I'm not sure.
MR. MACEY:
privilege log?
MR. THOMASSEN: Yeah;
MR. MACEY: Will that be on it?

Okay .

Am I going to get a

Page 25
MR. THOMASSEN: Any -- anything that

we are withholding on the basis Of
attorney-client privilege I --

MR. MACEY: I assume that's one of
them. Okay. And just so you know. . .
BY MR. MACEY:

Q. When was this text, what year?

A. I'm not clear on the answer.

Q. You don't know what year the text was?

A. I don't want to give a false answer if
I'm not sure.

Q. Okay. Well, when did your boyfriend
tell you about Albert, what year?

A. 2015.

Q. 2015, okay.

So was the text shortly after your

boyfriend first told you about Albert?

A. Yes.

Q. Okay. And when did you file your
lawsuit, do you know?

A. 2016.

Q. Okay. Do you know when in 2016 you

filed a lawsuit?
A. I'm not clear.

 

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CHR|ST|NE DANCEL _September 08, 2017
Page26' Page28
l Q. Do you know what season you filed it 1 A. Correct.
2 in? 2 Q. So you didn't hire him as lawyer;
3 A. It's a long year; not sure. 3 correct?
4 Q. Okay. And then do you know how many 4 A. Correct.
5 months before you filed -- well, let me ask 5 Q. And you didn't understand at that
6 you this: ¥ou got the text. What was your 6 point in time that you had hired the Edelson
7 next commmication? 7 law firm to represent you in a class action,
8 Did you subsequently communicate with 8 did you?
9 Albert after that text or did you text him 9 A. Could you reformulate that question?
10 back? 10 Q . Sure .
11 A. I texted him back. 11 When you hired him -- when you
12 QL Okay. And what did you say in that 12 spoke -- when you texted back this guy -- what
13 text? 13 was his name again, Albert?
14 MR. THOMASSEN: Okay. Again, don't 14 A. Mm-hmm.
15 answer that question. That's getting into l 15 Q. You hadn't agreed to pursue a class
16 attorney-client communication privilege. 16 action against Groupon at that point in time;
17 BY MR. MACEY: 17 correct?
18 Q. Had you hired him at that time? 18 A. Correct.
19 MR. THOMASSEN: I object to you -- to 19 Q. Okay. You never even heard of the
20 the extent you're calling for legal 20 Illinois Right of Publicity Act at the time
21 conclusions, but you can have her -- 21 you texted Albert back; correct?
22 MR. MACEY: Okay. That's not a proper 22 A. I had heard of it because I had taken
23 objection at a deposition. 23 a class, but l had -- not related to this
24 MR. 'I'HOMASSEN: Okay. 24 case.
Page27l PageZQ
1 MR. MACEY: So if you keep doing that 1 Q. Thank you. Okay. Thank you. I
2 stuff I'm going _to stop it and we'll go to 2 appreciate that.
3 court now. I'm serious. 3 What vms the class you took that you
4 MR. 'I‘HOMASSEN: That's fine. 4 heard of it?
5 MRQ MACEY: Okay. You cannot object 5 A. Intro to communication
6 on the ground of a legal conclusion. 6 Q. And was that at Marquette or was that
7 You can object on form and you could 7 in Emerson?
8 object on privilege,' but that's it. 8 A. It was at Marquette. I started as a
9 MR. 'IHOMASSEN: Okay. 9 journalism major.
10 MR. MACEY: So are you going to keep 10 Q. Okay. Your lawyer is not going to let
11 objecting on those grounds? 11 me ask you: Did you set up a meeting when you
12 MR. THOMASSEN: I'll make my 12 texted him back?
13 objection. If you want to -- 13 MR. THOMASSEN: Again, don't go into
14 MR. MACEY: I'll stop it and go to 14 the content of communications
15 Court. I don't care. 15 MR, MACEY: You're telling me that
16 MR. THOMASSER\T: Okay. 16 whether or not she set up a meeting is a
17 BY MR. MACEY: ' 17 privileged conmunication?
18 Q. So did you, in that text -- at the 18 Is that our position?
19 time you texted him, had you hired him -- 19 MR. 'I'I-IOMASSEN: My position is, is
20 MR. THOMASSEN: Same objection. 20 that communications between my client and the
21 BY MR. MACEY: 21 staff.or lawyers at the Edelson PC law firm
22 Q. -- as a lawyer? 22 are privileged.
23 Because he's not lawyer; right? 23 MR. MACEY: No matter what the
24 Right? 24_ communication is?

 

 

 

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CHR|ST|NE DANCEL

September 08, 2017

 

 

 

 

 

 

 

PageSO ' Page32

1 MR. 'IHOMASSEN: No, not no matter what 1 an email falls under the scope of privilege by
2 the communication is. 2 asking whether or not it contains legal
3 BY MR. MACEY: 3 advice.
4 Q. So I-'m asking her: If you set up a 4 MR. MACEY: Sorry, Ben, it's her
5 meeting, did you say, I'm available at a 5 understanding
6 certain time, I want to meet you? 6 BY MR. MACEY:
7 MR. THOMASSEN: Again, don't -- don't 7 Q. Did you understand that email provided
8 go into the content of -- are you asking about 8 you with legal advice?
9 a specific conmmnication? 9 A. I don't believe it provided me legal
10 MR. MACEY: Just ask -- this text. 10 advice.
11 BY MR. MACEY= 11 Q. okay. Then what did it say?
12 Q. Did you set up a meeting with him or 12 MR. THOMASSEN: Okay. Same objection.
13 someone else at the firm pursuant to that 13 MR. MACEY: All right. We're
14 text? 14 stopping .
15 A. NO. 15 MR. THOMASSETN: Okay.
16 Q. Okay. Did you -- what was your next 16 MR. MACEY: I'm going to Court. Thank
17 communication with the firm, or anyone at the 17 you. We're done.
18 firm, Albert, a secretary, anybody? 18 I will take the transcript expedited,
19 A. An email. 19 too.
20 Q. An email, from who to who? 20 MR. THOMASSEN: Okay. And 1 just --
21 A. It was from the firm to me. 21 let's just stay on the record.
22 Q. Who? 22 We're here to conduct the deposition
23 A. I can't remember the name. 23 today.
24 Q. Do you have the email? 24 MR. MACEY: I --

_ Page31` _ Page33
l A. I do. l MR. THOMASSEN: W --
2 Q. okay. Did you produce it? 2 MR. MACEY: But I'm allowed -- I'm
3 A. Could you clarify? 3 allowed under the rule to stop a deposition
4 Q. Sure. 4 when I think you're going out of your way to
5 Did you copy it to provide to your 5 get in my face, to not let her answer
6 lawyer to give to us? 6 questions in matters that are clearly not
7 A. Yes. 7 privileged .
8 Q. Okay. And what was in that email? 8 Okay. And you're making objections on
9 MR. THOMASSEN: Okay. Again, don't 9 grounds that you're not allowed to make
10 talk about the contents of the email. 10 objections to under the Rules of Civil
11 BY MR. MACEY: 11 Procedure, on grounds such as legal
12 Q. Well, did the email provide legal 12 conclusion, relevance or otherwise. You can't
13 advice? 13 do it.
14 MR. 'I`HOMASSEN: Okay. ObjeCt to form. 14 MR. ‘I'HOMASSEN: Okay.
15 Don‘t answer that question. 15 MR. MACEY: And, Ben, if you're going
16 MR. MACEY: Well, wait. Because it's 16 to keep doing it, which you told me you are,
17 privileged, whether it, in fact, provided 17 I'm going to Court and I'm getting a
18 legal advice? 18 declaratory judgment from the Court that you
19 MR. 'IHOMASSEN: You're asking her to l 19 need to answer those questions.
20 draw a conclusion of -- okay -- 20 I don't care what you say. If she's
21 MR. MACEY: I want to kno -- 21 got to come back, that's a problem. And you
22 (Sirrrultaneous colloquy.)` 22 are going to have to come back. I'm sorry.
23 MR. 'I'HOMASSEN: You're asking her -- l 23 It's going to be that way.
24 you're asking her to conclude whether or not 24 MR. THOMASSEl\T: Okay. So it's my

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CHR|ST|NE DANCEL September 08, 2017
Page 38 Page 40
1 MR. THOMASSEN: -- when you're trying 1 STATE OF ILLINOIS ) `
2 to get at communications that are privileged, 2 ) SS=
3 MR. MACEY: 'I'his is very, very 3 COUNTY OF C 0 0 K l
4 important stuff for a class action as to 4 11 ANGELA C~ LOISL CSR' RPR' FCRR/ an
5 Whetner shels an adequate class 5 Officer of the Court, do hereby certify that
6 representative __ 6 heretofore, to-wit, on the Bth day of
7 MR_ THOMASSEN: I agree With you __ 7 September, 2017, personally appeared before
8 MR_ MACEY: Ilm not __ 8 me, at 100 North Riverside Plaza, Chicago,
9 MR. THOMASSEN: I agree __ 9 Illinois, CHRISTINE DANCEL, in a cause now
10 MR_ MACEY: __ going __ 10 pending and undetermined in the Circuit
ll MR_ 'I'HOMASSEN: __ With you_ 11 Court of Cook County, Illinois, wherein
12 MR_ MACEY: __ to do this_ 12 CHRISTINE DANCEL is the Plaintiff, and
13 Okay_ I think youlr~e deliberately 13 GROUPONl INC.l is the Defendant.
14 obstructing_ We're done_ Thank you_ l 14 1 I further certify that the said witness
15 "IHE COURT REPORTER: And When Wo-uld 15 was first duly sworn to testify the truth,
16 you like this by_o 16 the whole truth and nothing but the truth in
17 MR. MACEY: Tomorrow_ No, Monday is 17 the cause aforesaid; that the testimony then
18 good_ 18 given by said witness was reported
19 m COURT REPORTER: Would you like a 19 stenographically by me in the presence of
20 oopy'_.> 20 the said witness, and afterwards reduced to
21 MR_ 'I'HOMASSEN: yes_ 21 digital format by Computer-Aided
22 rI'HE COURT REPORTER: And Would you 22 Transcription, and the foregoing is a true
23 like it expedited? 23 and correct transcript of the testimony so
24 MR_ 'I'HOMASSEN: Yea_h, we need it When 24 given by said witness as aforesaid.
Pa-ge 3_9_ _ Page 41
l he gets it_ 1 I further certify that the signature to
2 (Whereupon' a recess was 2 the foregoing deposition was waived for the
3 nad_) 3 respective parties.
4 MR_ COHE:N: Can We get this as soon as 4 I further certify that the taking of
5 possible, today or tomorrow? 5 this deposition was pursuant to notice, and
6 THE COURT REPORTER: Absolutely_ 6 that there were present at the deposition
7 1 1 * FURTHER DEPONENT SAITH NOT * ~1- ~1- 7 the attorneys hereinbefore mentioned.
8 (Proceedings ended at 9:55 a_m_) 8 I further certify that I am not counsel
9 9 for nor in any way related to the parties to
10 10 this suit, nor am I in any way interested in
11 11 the outcome thereof.
12 12 IN TESTIMONY WHEREOF: I have hereunto
13 13 set my verified digital signature this
14 14 September 8, 2017.
15 15
16 w
17 17 _ ¢ _
18 18 q1100 1011
.
19 19
20 20 _ _ _ _ _
21 21 Angela C. Loisi, CSR, RPR, FCRR
n ' 22
m 23
24 24

 

 

 

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EXHIBIT C

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ORDER ' (Rev. 9/13/04) CCG 0002

 

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, CHANCERY DIVISION

' CHRISTINE DANCEL, individually and )
on behalf of all others similarly situated, )
Plaintiff, §
v. § No. 16 CH 01716
GROUPON, I_NC., a Delaware Corporation, § ludge Thomas R. Allen
Defendant. §
O R D E R

This cause coming on to- be heard on Defendant Groupon, Inc.’s Motion to Compel
Discovery and For Sanctions; due notice having been given; counsel for the parties being present;
and the Court having reviewed the parties’ written submissions, listened to the arguments of
counsel, and being otherwise duly advised in the premises,

.rr Is HEREBY 0RDERED THAT`; ' v `i_

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‘;~c _C». "?`"‘;
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D§\" witt i\'\.$i~\t,\ w §e_<\¢§\>;o\g \<.§,
O\@-“@cl.

   

Name Novack and Macey LLP (ENM)
Attorney for Defendant

Address 100 North Riversidé Plaza»
City Chicago, Illinois 60606-1501
Telephone (312) 419-6900 _
Fil'm NO. 91731 Judge Judge’s No.

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 

 

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EXHIBIT D

Case: 1:18-Cv-O2027 Document #: 95 Filed: 07/18/18 Page 13 of 24 Page|D #:2472

Brian E. Cohen

From: Ben Thomassen <b_thomassen@ede|son.com>
Sent: Thursday, October 12, 2017 2:48 PM

To: Eric N. l\/lacey; Brian E. Cohen; Chris Moore
Cc: Amir Missaghi; Rafey Ba|abanian; Ari Scharg
Subject: Dance| v. Groupon

Attachments: DANCELOOOOGS-DANCELOOOO71.pdf
Counsel:

See attached, per today's hearing

Thanks,
Ben

Ben Thomassen | Ede|son PC

350 North LaSal|e` Street, 13th F|oor

Chicago, illinois 60654

312.572.7208 (direct) | 312.589.6370 (tirm) | 312.589.6378 (fax)
bthomassen@ede|son.com |www.ede|son.com

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EXHIBIT E

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EXHIBIT F

'Case: 1:18-Cv-O2027 Document #: 95 Filed: 07/18/18 Page 16 of 24 Page|D #:2475

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMEN'I`, CHANCERY DIVISION

CHRISTINE DANCEL, individually and on
behalf of all others similarly situated,

Plaintz`]_‘};
v. CaseNo. 16 CH 01716

GROUPON, INC., a Delaware Corporation,
Judge Thomas R. Allen
Defendant.

 

 

ORDER

This matter coming to be heard on Plaintiff Christine Dancel’s Motion for Disclosure of
Information Designated by Dcfendant as “Highly Confidential” and Discovery Sanctions (the
“Motion”); the Court having heard oral argument by the Parties; and the Court being fully
advised on the premises,

IT IS HEREBY ORDERED:
l. The Motion is granted in part and denied in part;

2. Plaintiff’s request that the Court strike Defendant Groupon, Inc.’s (“Groupon”)
confidentiality designations on the documents labeled G_003302 and G_003303 (the
“Documents”) is denied;

3. Over Groupon’s objections set forth on the record and in Groupon’s Response to the
Motion, Plaintiif may only disclose the Instagram usernames reflected in the Documents
to non-party Instagram, LLC; and

4. PlaintiH’s request for sanctions is denied. §
4

./
Dated: September 29, 2017 ENTERED:

Prepared by: ./

Ben Thomassen Judge Thomas R. Alle
EDELsoN PC

350 North Lasalle Street

Suite 1300

Chicago, Illinois 60640

312.589.6370

Firm ID: 441 46

 

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EXHIBIT G

Case: 1:18-Cv-O2027 Document #: 95 Filed: 07/18/18 Page 18 of 24 Page|D #:2477
Case: 1:18-cv-02027 Document #: 88 Filed: 06/22/18 Page 1 of 4 Page|D #:2441

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

CHRISTINE DANCEL, individually and on
behalf of all others similarly situated,

Plaintij‘, Case No. l:lS-CV-02027
v.
Hon. Judge Ronald A. Guzman
GROUPON, INC., a Delaware Corporation,
Magistrate Judge Jeffrey Cole
Defendam‘.

 

 

MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL

Pursuant to Local Rule 26.2, Plaintiff Christine Dancel hereby seeks leave to file her
Motion for Rule 11 Sanctions, along with certain supporting documents, under seal. In support of
this Motion, Plaintiff states as follows:

l. Pursuant to the stipulated protective order entered in this case, the parties may
designate information as “CONFIDENTIAL” if the underlying information is “prohibited from
disclosure by . . . contract.” (Dkt. 80 at 3.) A party seeking to file confidential information with
the Court must do so by motion, pursuant to Local Rule 26.2. (Id. at 10.)

2. Plaintiff’s Motion for Rule ll Sanctions discusses a document (attached as
Exhibit 2 to the contemporaneously-filed Thomassen Declaration) that is discussed in Group_on,
Inc.’s Response in Opposition to Plaintiff’ s Motion for Class Certification. (See dkt. 40 at 5-6,
25.) Plaintiff’s counsel, Edelson PC, is prohibited by contract from making any “public
comment[s] in writing” about the document. (See Exhibit 2 to the Thomassen Declaration at 11
4.1.) Therefore, Plaintiff has designated this document as CONFIDENTL'XL pursuant to the

operative protective order and now seeks leave to tile it under seal. Likewise, because Plaintiff’s

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Motion for Rule ll Sanctions and the Declaration of Benjamin S. Thomassen discuss the subject
matter of the document, Plaintiff also seeks leave to tile the document partially under seal.

3. Plaintiff has also attached as Exhibit 7 to the Thomassen Declaration excerpts
from her deposition transcripts in this case. While neither party has designated these transcripts
as confidential, Groupon’s counsel quoted_over the course of the deposition_from a
communication that is reproduced in Groupon’s Opposition to Plaintiff’s Motion for Class
Certification, (dkt. 40 at 6), and was sealed by order of Court. Because this material was sealed
by the Court and generically concerns Exhibit 2 to the Thomassen Declaration (discussed above
‘" 2), Plaintiff seeks leave to file Exhibit 7 to the Thomassen Declaration under seal.

4. Plaintiff sought leave to file these same documents (and corresponding
references) under seal on June 13, 2018. (Dkt. 77 at 1] 4.) The Court granted that request on June
14, 2018. (Dkt. 79.)

5. Pursuant to Local Rule 26.2, Plaintiff has filed public (redacted) and provisionally
sealed versions of these materials

WHEREFORE, Plaintiff respectfully seeks an order granting her leave to file Plaintiff‘s
Motion for Rule ll Sanctions, the accompanying declaration of Benj amin S. Thomassen, and

Exhibits 2 and 7 attached to the Thomassen Declaration under seal.

Respectfully submitted,

CHRISTINE DANCEL, individually and on
behalf of all others similarly situated,

Dated: June 22, 2018 By: /s/ Beniamin S. Thomassen
One of Plaintiff’s Attorneys

J ay Edelson
jedelson@edelson.com
Benj amin H. Richman

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EDELSON PC

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Fax: 415.373.9495

Counsel for Plaintiff and the Putative Classes

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CERTIFICATE OF SERVICE
I,' Benj amin S. Thomassen, hereby certify that I served the above and foregoing document
by causing true and accurate copies of such paper to be transmitted to all counsel of record via

the Court’s CM/ECF electronic filing system on June 22, 2018.

/s/ Beniamin S. Thomassen

 

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EXHIBIT H

Case: 1:18-Cv-O2027 Document #: 95 Filed: 07/18/18 Page 23 of 24 Page|D #:2482

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